Thomas M. Olejniezak Retired:

Frederick L. Schmidt ~ BC
R. George Burnet Gregory : “may
Gregory A. Grobe J. Michael Jerry

Tort L. Kluess
Rebert M, Charles
Brick N. Murphy
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Ress W. Townsend Facsimile: (920) 437-2868

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GBG@leofiaw.com

dames M. Ledrow
Steven J. Krieger

Jiti J Ray

Joshua M- Koch

 

Telephone: (920) 4370476

  

 

June 6, 2017

Attorney James A. Walcheske
15850 W. Bluemound Road, Suite 304
Brookfield, WI 53005-6008

Re: Fast, Timothy J. vs. Cash Depot, Ltd.

Dear Attorney Walcheske:

[ have enclosed my client’s draft in the amount of $338.98, which represents the full amount that
your client would be owed in the event he reccived everything he claims in his complaint in the
above-referenced action. The calculation has been done by Schenck & Company, Cash Depot's
outside accounting firm, and includes all statutory damages as well as the allegedly unpaid
compensation he claims. We forward this based on the economic considerations involved,
particularly the fact that the cost of litigating your client’s claims will greatly exceed anything
that might be owed him.

We have not enclosed a check for the costs or reasonable attorneys’ fees in advancing the claim,
because that information is lacking. My client will pay those costs and reasonable fees, so please
forward an accounting of the costs and reasonable fees, and we will promptly remit payment.

In the event that this request is somehow insufficient for your purposes, | have enclosed a formal
discovery request as well.

If you have any questions regarding any of the above, please advise.
Thank you very much.

Very truly yours,

    
  

LAW FIRM OF CONWAY, OLEJNICZAK & JERRY, S.C.

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AH
By: Am

 

/ ¥. ge Burnett

EXHIBIT

GBuft 2672053
Enclosure

  

P.O. Box 23200 « Green Bay, WI 54305-3200 © Phone: 920.437.0476 * Fax: 920.437.2868
Case 1:16-cv-01637-WCG » Filed 08/04/27 Page 1 of 2 Document 25-1

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DATE
CASH DEPOT, LTD
1740 COFRIN DRIVE 06/08/2017
GREEN BAY, WI 54302
AMOUNT
$ 338.98
THREE HUNDRED THIRTY EIGHT DOLLARS and 98 CENTS
PAY
TO THE
ORDER
Timothy J. Fast
2564 Swanson Road
Portage, IN 46368
642 F SRVC Fast, T. J. XXX-XX-8375 05/31/2017 0000069
EMPLOYEE NO. DEPARTMENT EMPLOYEE NAME SOCIAL SECURITY NO. PERIOD END CHECK NO.
EARNINGS HRS/UNITS CURRENT AMOUNT YEAR TO DATE DEDUCTIONS CURRENT AMOUNT YEAR TO DATE
Audit Pay 0.000 380.76 380.76 | FEDERAL MEDICAR 5.52 5.52
FEDERAL SOCIAL 23.61 23.61
INDIANA 10.95 10.95
Porter Cty IN 1.70 1.70
VACATION BAL 0.000
15.00 380.76 41.78 338.98 380.76 41.78 338.98
PAY RATE CURRENT EARNINGS CURRENT DEDUCTIONS NET PAY Y.T.D. EARNINGS Y.1.D. DEDUCTIONS Y.T.D. NET PAY
Employer Match 401K:

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